                                                                                          FILED
                                                                                      IN OPEN COURT


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                     IN THE UNITED STATES DISTRICT COURT FOR TH

                             EASTERN DISTRICT OF VIRGINIA                       CLt:'K u s DISTRICT COUH
                                                                                 .AlcXANDRIA. VIRGINIA
                                  ALEXANDRIA DIVISION


 UNITED STATES OF AMERICA


        V.                                           Case No. l:2I-CR-27l


 MOHAMMED KHALIFA,

              a/k/a,

              Abu Ridwan AI-Kanadi
              Abu Muthanna AI-Muhajir

        Defendant.



                                   STATEMENT OF FACTS


       The United States and the defendant, MOHAMMED KHALIFA,a/k/a Abu Ridwan AI-

Kanadi and Abu Muthanna Al-Muhajir (hereinafter,"the defendant"), agree that at trial, the

United States would have proven the following beyond a reasonable doubt with admissible and

credible evidence:


       Defendant's Migrationfrom Canada to Syria

       1.      The defendant was born in the Kingdom of Saudi Arabia and moved to Canada

from Italy with his family when he was five years of age. The defendant earned a degree in

computer systems technology from a college in Toronto. The defendant is fluent in both English

and Arabic.


       2.      In the Spring of2013,the defendant began following reports ofcivil unrest in Syria.

The defendant decided to travel to Syria after watching videos of the Assad regime advancing on

Syrian villages occupied by opposition and Muslim populations. The defendant also listened to

and watched jihadi audios and videos featuring American cleric Anwar AI-AwIaki. In particular,
